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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:02CR3049
                              )
          v.                  )
                              )
MAURICE BERRY,                )                      ORDER
                              )
               Defendants.    )
______________________________)


             This matter is before the Court on plaintiff’s request

for hearing on Rule 35(b) motion (Filing No. 88).             The Court

finds said request should be granted.         Accordingly,

             IT IS ORDERED that said request is granted; a hearing

on plaintiff’s Rule 35(b) motion (Filing No. 86) is scheduled in

OMAHA for:

                  Friday, September 9, 2005, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.       Defendant need not be

present.

           DATED this 15th day of August, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
